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IN THE UNITED STATES COURT OF FEDERAL CLAIMS
BID PROTEST

 

REDACTED VERSION
AMAZON WEB SERVICES, INC.,

Plaintiff,
Case No. 19-1796

Judge Patricia E. Campbell-Smith

THE UNITED STATES, Po

Defendant,
and

MICROSOFT CORPORATION,

 

Intervenor-Defendant.

 

 

INTERVENOR-DEFENDANT MICROSOFT CORPORATION’S
REPLY IN SUPPORT OF ITS PARTIAL MOTION TO DISMISS PLAINTIFF’S
COMPLAINT
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INTRODUCTION

AWS’s response turns the theory of its own complaint on its head. Whereas the complaint
alleges bias in the procurement process by citing a long line of anti-Amazon statements by
President Trump, stretching back even before the 2016 election, the response attempts to evade
the conclusion that logically follows from those allegations—that AWS was obliged to have filed
its bias claims in a pre-award protest. This transparent attempt to avoid waiver under Blue & Gold
Fleet, L.P. v. United States, 492 F.3d 1308 (Fed. Cir. 2007), cannot succeed.

AWS’s new strategy is to claim that it discovered the facts underlying its bias claims only
after DoD gave allegedly nonresponsive answers to its debrief questions. But this blatantly
contradicts the complaint, which alleges that “the President made it widely known to everyone—
including on publicly broadcast television and through his prolific tweets—that DoD should not
award the JEDI contract to AWS.” Complaint § 13, ECF No. 1 (““Compl.”). Indeed, the complaint
alleged that President Trump’s comments irretrievably tainted the entire solicitation, asserting that
those comments “would have been virtually impossible for anyone involved in JEDI to ignore.”
Id. § 20. Even AWS’s debriefing questions show that AWS was aware of the alleged bias before
the contract award. See, e.g., Tab 488, AR 180050-61 (asking whether specific procurement
officials had communicated with President Trump or were aware of his anti-Amazon statements).
AWS’s assertion that it only suspected bias after the award was made is implausible.

AWS also distorts the legal standard for waiver under Blue & Gold. As Microsoft
explained in its motion (at 21-25), this Court applies a simple and straightforward rule: A protestor
must challenge any procurement error of which it becomes aware during the procurement process
“as early as possible and at a minimum, prior to the agency’s award of the contract.” Synergy
Sols., Inc. v. United States, 133 Fed. Cl. 716, 740 (2017). To muddy the waters and save its

untimely bias claims, AWS rejects this authority and proposes a distinction between challenges to
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the “solicitation” (which AWS concedes are subject to waiver), and challenges to the “evaluation
process” (which AWS claims are not). But this Court has repeatedly rejected that precise
distinction, noting that it does little to serve Blue & Gold’s underlying policy rationale: to
discourage bidders from sitting on their rights as to procurement errors and then raising an
objection later, after the contract is awarded to a competitor, in an attempt to restart the
procurement. See, e.g., Synergy, 133 Fed. Cl. at 740 (rejecting protestor’s proposed “distinction
between perceived defects in the solicitation versus perceived defects in the evaluation process”).

Even if AWS’s misplaced solicitation/evaluation distinction made any sense, its claims
would still fail. Count III alleges that DoD took three “affirmative steps” to deprive AWS of its
competitive advantage. A// of these steps were accomplished by the express terms of either the
original solicitation or Amendment 0005. Count III plainly challenges the terms of the
solicitation—not the evaluation—and it is waived under any interpretation of Blue & Gold,
including AWS’s.

Counts V, VI, and VII fare no better. Those counts allege that President Trump’s bias
tainted the entire “procurement process.” Compl. § 220. According to AWS, the President’s
alleged intervention created a “fundamental defect’ in the procurement that “destroyed the
requisite impartial discharge of the government procurement process.” Id. § 12 (emphasis added).
AWS’s theory—pled in the complaint—is that once President Trump made his statements, it
would have been “impossible” for DoD evaluators to ignore them. Jd. § 20. AWS thus had all the
information it needed to bring those claims before the award, or sooner. And although AWS
asserts that any pre-award bias claims would not have been ripe, that is simply not true. If AWS
truly believed that President Trump’s tweets actually infected the solicitation, it could have

brought a pre-award protest. If successful with a timely pre-award protest, AWS would have been
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entitled to the same relief that is available now—presumably, an order directing DoD to remove

any biased evaluators. The purpose of Blue & Gold, however, is to discourage post-award relief

that can be avoided because it is costly and disruptive to the Government’s procurement process

and unfair to the awardee, whose price and other technical proposal details have been revealed.
For all these reasons, Counts III, V, VI, and VII should be dismissed in their entirety.

ARGUMENT

I. COUNT IVS CHALLENGE TO THE EXPRESS TERMS OF THE
SOLICITATION IS WAIVED

AWS’s response tries to paint Count III as a bias claim, but really it alleges patent defects
in the solicitation. This Court should not be misled: Count III is a straightforward challenge to
the express terms of the original RFP and Amendment 0005. AWS was aware of those terms when
the RFP was issued or, at the latest, on May 13, 2019, when DoD issued Amendment 0005. And,
at the latest, AWS was required to have raised any objections prior to June 12, 2019, the deadline
set for submission of revised proposals in response to Amendment 0005. Count III is waived under
any theory of Blue & Gold.

In arguing that Count III is not subject to waiver, AWS concedes that under any reading of
Blue & Gold, a challenge to the express terms of a solicitation is waived unless asserted prior to
the close of bidding. See Blue & Gold, 492 F.3d at 1313-14; Pl.’s Sealed Response in Opp’n to
Defendants’ Partial Mot. to Dismiss at 6, ECF No. 168 (“Response”) (acknowledging that Blue &
Gold applies “where an offeror fails to challenge patent defects in a solicitation prior to the close
of bidding”). Hoping to avoid the fatal consequence of that rule, AWS seeks to recast Count III
as a challenge to “biased conduct... which AWS could not have known until after contract award.”
See Response at 8-9. That mischaracterizes Count III.

Count III identifies three actions, which it characterizes as “affirmative steps,” that DoD
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allegedly took to deprive AWS of its “competitive advantage” in the procurement. Compl. § 211.
The substance of each of those actions was evident in the original solicitation or Amendment 0005.

The first “step’—DoD’s decision not to evaluate past performance—was apparent from the

 

original solicitation, which did not mention past performance, and from DoD’s written answer to
a question from an offeror, which confirmed that “Past Performance will not be evaluated.” See
Intervenor-Def. Microsoft Corporation’s Partial Motion to Dismiss the Complaint at 25-26, ECF
No. 133 (“Microsoft Motion”). The second “step”—the prohibition on using existing classified
infrastructure—was clear both from the original solicitation, which stated the prohibition, and from
Amendment 0005, which reiterated it. Jd. at 26-27. And the third “step”—barring both offerors
from relying on Pe in calculating their responses to the Price
Scenarios—occurred in Amendment 0005, which prohibited Po and required
“highly accessible” data storage. Jd. at 28-29.

AWS claims (Response at 8-9) that it could not have challenged these patent solicitation
e1rors prior to the award because it did not know the “underlying basis” or “primary motivation”
for them, 1.e., President Trump’s alleged bias. That argument fails for two independent reasons.

First, whether or not AWS was aware of the alleged bias is irrelevant to Count III. AWS’s
complaint does not argue that the “affirmative steps” challenged in Count III appeared rational
until AWS discovered the President’s anti-Amazon bias; rather, it claims that they were “arbitrary
and capricious” —that is, lacking any rational justification—from the outset. Compl. § 214. AWS
has no excuse for failing to raise that challenge earlier. Jd. § 213. AWS could have challenged
the original solicitation before the submission of initial proposals (on October 12, 2018), and it
could have challenged Amendment 0005 before submission of revised proposals (on June 12,

2019). Its failure to do so constitutes waiver under Blue & Gold.
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AWS’s contrary position would dramatically narrow the Blue & Gold waiver rule. Under
AWS’s theory, a protestor could challenge a patent solicitation defect for the first time in a post-
award protest, simply by alleging that (1) the defect was motivated by bias, and (2) even though
the defect itself was patent, the Dias was not apparent until after the award was made. Such a rule
would subvert Blue & Gold’s core rationale, which is to prevent a bidder from sitting on its rights
during the procurement process and only raising errors later as a means to reopen a competition
that it has lost. See Blue & Gold, 492 F.3d at 1313-14; Microsoft Motion at 21-22. This Court
should not allow losing bidders to resuscitate waived challenges to patent requirements that are
known to all bidders simply by questioning the evaluators’ motives after the award is made.

Second, even if Count III is a bias claim, the complaint itself makes clear that AWS was
aware of the alleged bias well before the submission of initial proposals on October 12, 2018 and
revised proposals on June 12, 2019. No less than nineteen of the anti-Amazon statements cited in
the complaint were made before October 2018—including a statement reported in April 2018 that
the President was “obsessed” with Amazon’s owner and founder, Jeffrey Bezos, and had asked his
advisors how he could “f*** with him.” Compl. § 90; see also id. §§ 16-17, 19, 84-89; see
Microsoft Motion at 29-32.!

Well before the evaluation process even began, AWS thus knew about Doth (1) the

 

1 Even if AWS was somehow not on notice of the alleged bias as of June 2019, it was
certainly on notice by the time final proposals were due on September 5, 2019. By then, numerous
other statements that AWS relies on in its Complaint to establish bias had been made. See, e.g.,
Compl. § 20 (discussing July 20, 2019 press conference in which President Trump said his
administration would “look at [the procurement] very closely”); see also id. § 93 (Senator Marco
Rubio’s July 19, 2019 tweet urging the President to “delay awarding [the] cloud computing
contract to @amazon”; id. § 97 (President Trump’s July 22, 2019 retweet of a Fox News segment
calling the JEDI contract the “Bezos Bailout”); id. § 176 (Secretary Esper’s August 1, 2019
announcement that he intended to take a “hard look” at the JEDI procurement); id. § 177 (citing
several tweets about the procurement from the President’s son in August 2019).
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allegedly defective solicitation “steps” that it now challenges in Count III, and (2) the bias
allegedly motivating DoD’s improper taking of those “steps”. AWS could have filed a bid protest
challenging the terms of the original solicitation and, if successful, it would have been entitled to
modification of those terms. Likewise, AWS could have protested Amendment 0005, which it
now blames for its higher price. Compl. § 213. AWS has no excuse for sleeping on its rights.
Il. COUNTS V, VI, AND VII’S BIAS AND BAD FAITH CLAIMS ARE WAIVED
Counts V, VI, and VII broadly allege that the entire procurement was tainted by bias and
conflicts of interest. Compl. §§ 182-84, 219-34. Count V alleges that presidential bias

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“undermined the procurement process” and impeded the evaluators’ “abilities to rationally
evaluate the proposals.” Jd. §§ 220-21. Count VI points to “a series of dismissals by the Trump
Administration” that allegedly created conflicts of interest by showing that “Executive Branch
employees who do not follow President Trump’s directives are at risk of losing their jobs.” Jd. §
226; see also id. §§ 91, 179, 226 (citing dismissal of Secretary Mattis). And Count VII alleges that
“President Trump induced DoD to conduct the procurement in a manner that breached the implied
contract of good faith and fair dealing.” Jd. § 233.

AWS’s theory is that the President’s anti-Amazon statements irretrievably tainted the
procurement. The complaint asserts that it was “virtually impossible” for DoD evaluators to
“ignore” President Trump’s statements, that those statements “inherently impacted” DoD political
appointees who then necessarily “imparted the President’s bias” to the evaluators, and that “[n]o
amount of compartmentalization, segregation, or anonymization could have isolated the decision-
makers from the clear and unmistakable conflict of interest that stemmed from the very highest
levels of power in DoD and that were made known to all.” Compl. ff 20, 183-84.

Counts V, VI, and VII are waived: AWS was fully aware of the alleged presidential bias

before the deadline for final proposals (September 5, 2019), or at the very least, before DoD
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awarded the contract to Microsoft (October 25, 2019). Nothing prevented AWS from filing a pre-
award protest to eradicate such bias. See Microsoft Motion at 25-39; Synergy, 133 Fed. Cl. at 740.

A. Blue & Gold Bars A Protestor From Raising Any Claim That Could Have
Been Raised And Resolved Prior To The Contract Award

AWS’s defense of Counts V, VI, and VII misinterprets the basic Blue & Gold legal
framework that requires dismissal of its untimely bias claims. Instead of applying the
straightforward rule that a bidder must challenge known procurement errors before the contract is
awarded (see Microsoft Motion at 21-25), AWS urges the Court to adopt a distinction between
challenges to the ferms of a solicitation, which AWS concedes are generally subject to waiver, and
challenges to the evaluation process, which it argues are immune. See Response at 10-16.
Crucially, AWS argues that a// claims of bad faith, bias, and conflicts of interest fall into the latter
category—and so cannot be waived no matter how obvious they were prior to the award.

AWS’s position is at odds with Blue & Gold’s policy rationale and settled precedent. As
the Federal Circuit has said time and again, the Blue & Gold waiver rule serves a very specific
purpose: It prevents a bidder from remaining silent about an obvious error in a procurement,
waiting to see who wins the contract, and then raising the error later in litigation if it loses. See
Blue & Gold, 492 F.3d at 1313-14; see also COMINT Sys. Corp. v. United States, 700 F.3d 1377,
1383 (Fed. Cir. 2012) (refusing to allow the protestor to “get a second bite at the apple”); Bannum,
Inc. v. United States, 779 F.3d 1376, 1380 (Fed. Cir. 2015) (waiver rule prevents “inefficient and
costly” agency rebidding). By foreclosing this disruptive tactic, the waiver rule incentivizes
bidders to raise errors early, prevents them from “taking advantage of the government and other
bidders,” and “avoids costly after-the-fact litigation.” Blue & Gold, 492 F.3d at 1314.

AWS’s interpretation of Blue & Gold subverts this underlying rationale. Under AWS’s

theory, a protestor need not object to an obvious, even notorious “fundamental defect” in the
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procurement process prior to award (see Compl. § 12) so long as that “fundamental defect” is not
apparent within the four corners of the solicitation itself. But if bias is apparent before the
evaluation takes place, Blue & Gold’s logic requires the bidder to bring his protest then—when
the bias can be addressed and mitigated. See COMINT, 700 F.3d at 1382 (“The same policy
underlying Blue & Gold supports its extension to all pre-award situations.”); Bannum, Inc. v.
United States, 115 Fed. Cl. 257, 274 (2014) (explaining “that the Blue & Gold waiver rule should
be broadly applied in bid protests”); Technatomy Corp. v. United States, 144 Fed. Cl. 388, 391
(2019) (noting that “many of our court’s judges, including the undersigned, have recognized that
the [waiver] rule should be applied in additional circumstances”).

AWS’s argument conflicts with many decisions of this Court. In Synergy, for example, a
bidder filed a post-award protest challenging the agency’s refusal to engage in meaningful pre-
award discussions, as required by applicable regulations. See 133 Fed. Cl. at 740. The Court held
that the challenge was waived, and it expressly declined to rely on the protestor’s proposed
“distinction between perceived defects in the solicitation versus perceived defects in the evaluation
process.” Id. (emphasis added). Such a rule, the court explained, was inconsistent with the Federal
Circuit’s “clear, practical intent to expand the reach of the Blue & Gold Fleet waiver rule to include
any defects that could potentially be raised and resolved prior to the contract award.” /d. (citing
COMINT, 700 F.3d at 1383). AWS’s rule would have yielded a contrary result in Synergy, because
the protestor there challenged the procurement process, not an express term of the solicitation.

AWS tries to marginalize Synergy, emphasizing that the protestor there had also failed to
raise its claim in a prior GAO protest and asserting that this Court has “limited Synergy to its facts.”
Response at 13-14. But Synergy’s reasoning did not turn on the prior GAO proceedings; rather,

the court expressly considered and rejected the distinction, which AWS here proposes, between
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solicitation and evaluation. See 133 Fed. Cl. at 740. Nor has Synergy been “limited” “to its facts”;
to the contrary, as recently as 2019, this Court endorsed Synergy as a “reasonable interpretation”
of Blue & Gold and COMINT under the circumstances presented there. iAccess Technologies, Inc.
v. United States, 143 Fed. Cl. 521, 531-32 (2019) (Campbell-Smith, J.).

AWS’s proposed rule is also inconsistent with CRAssociates, where the Court applied Blue
& Gold to an organizational-conflict-of-interest (OCI) claim alleging that a competitor had
obtained inside information from its prior partial performance of the contract. CRAssociates, Inc.
v. United States, 102 Fed. Cl. 698, 712 (2011), aff'd, 475 Fed. App’x 341 (Fed. Cir. 2012)
(unpublished). As the Court explained: “[T]he rationale of Blue and Gold leads to the conclusion
that a contractor should not be allowed to protest an agency’s failure to identify and mitigate an
OCI when the contractor knew about the alleged OCI from the start, but failed to assert it, via
protest, prior to the award.” Jd. The OCI claim at issue in CRAssociates, like AWS’s bias and bad
faith claims here, was not a challenge to an express term of the solicitation. Indeed, AWS’s theory
of Blue & Gold implies that OCI claims can never be waived—despite this Court’s repeated
statements that they can. See, e.g., Concourse Grp., LLC v. United States, 131 Fed. Cl. 26, 29-30
(2017); Comme’n Constr. Servs., Inc. v. United States, 116 Fed. Cl. 233 (2014).

AWS seeks to distinguish CRAssociates as well, arguing that the case really involved a
solicitation challenge because the protestor there had “asked the Army to amend the RFP to
address” the alleged OCI. 102 Fed. Cl. at 712. But again, AWS misreads the decision.
CRAssociates expressly held that the protestor’s claims were waived to the extent that they
challenged the agency’s evaluation process, explaining that “CRA cannot escape [the] waiver rule
by asserting that, wholly apart from the terms of the RFP, the Army should have identified and

mitigated an unequal information OCI, as required by the FAR.” Jd. And, like Synergy, it
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expressly rejected the solicitation/evaluation distinction on which AWS now relies, emphasizing
that “[a] number of cases hold that arguments that should have been raised prior to an award are
waived, even if they do not relate to ambiguities or errors in the solicitation.” See id. at 712 n.12.

AWS’s approach was also rejected in Concourse Group, where the issue was the
“unusually close’ relationship” between the agency and the incumbent contractor—a defect in the
fairness of the procurement process, not the terms of the solicitation. 131 Fed. Cl. at 30. In holding
that the protestor waived its OCI challenge by failing to raise it prior to the award, the court
specifically rejected the theory of bias that AWS advances here, noting that it contravened Blue &
Gold’s policy rationale:

[The protestor] argues . . . that “Count I does not stand on the existence of the OCIs

itself, but rather on the Army’s failure to identify and evaluate the OCIs and avoid,

neutralize, or mitigate them.” Under this logic, [the protestor] only knew about the

Army’s failure to mitigate the OCIs when the Army awarded the contract to [a

competitor]. This is not the law. If it were, then protesters like CRAssociates could
simply sit on their rights until they knew whether or not they had won the contract.

Id. at 30 n.3 (emphasis added). Like the protestor in Concourse, AWS urges this Court to pin the
timeliness of its bias claims on when it claims the effects of the bias were revealed. But as the
Court said in Concourse, “[t]his is not the law.” Jd.

AWS also tries (Response at 12) to distinguish Peraton, Inc. v. United States, 146 Fed. Cl.
94 (2019) (Campbell-Smith, J.), on grounds that that case involved a corrective action that
amended the original solicitation “and thus fit easily within Blue & Gold’s solicitation-limited
scope.” Not so. Peraton was a challenge to the agency’s “bad faith conduc?’ throughout the
procurement. Jd. at 102-03. That “conduct” included actions that could not possibly be interpreted
as amendments to the terms of the solicitation, such as the agency’s award of a separate “bridge

contract” to a competitor. Jd. at 98. Peraton directly refutes AWS’s position that bias and bad

faith claims are categorically exempt from Blue & Gold.

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The GAO’s opinion in Adams and Associates, Inc., 2019 CPD § 21, 2019 WL 245909
(Comp. Gen. Jan. 16, 2019), also rejected the waiver argument AWS makes here. Like AWS here,
the protestor in that case made the “sweeping assertion that no [agency] personnel would fairly
and impartially evaluate its proposals.” Jd. at *3. The GAO explained that “our timeliness rules,”
like the ones applied by this Court, “do not allow a protester to wait to raise a fundamental flaw
with the procurement process until after an award decision has been made.” Jd. Thus, the GAO
tuled that the protest was a “quintessential challenge[] to the ground rules of the procurement{ |]
that had to be challenged prior to the closing dates for proposals” and dismissed it as untimely. Jd.

AWS tries to distinguish Adams and Associates (Response at 15) by stating that here,
“AWS presumed that DoD officials were capable of carrying out their source selection obligations
in accordance with the presumption of good faith.” But AWS’s own complaint refutes the present
assertion that AWS presumed the good faith of DoD officials. The complaint asserts exactly (and
repeatedly) the opposite: that President Trump’s public statements before the award uretrievably
tainted the procurement process in a way that would necessarily infect the ultimate award. See
Compl. §§ 20, 182-84; supra at 5-6. Indeed, the complaint cites “the President’s public campaign
against Amazon” and “DoD’s suspect last-minute efforts to ‘review’ the JEDI proposal [in August
2019]” as reasons to conclude that the presumption has been “rebut/ted].” Compl. § 221.

AWS also attempts to discount Adams and Associates because it is a GAO decision. Like
Blue & Gold, however, the GAO waiver rule requires that a challenge to the underlying ground
tules of a competition—such as a bias claim—aust be brought prior to the close of the bidding
process. 4 C.F.R. § 21.2(a)(1). Indeed, Blue & Gold itself relied on the GAO waiver rule as a
reason for courts to recognize an analogous waiver rule. See Blue & Gold, 492 F.3d at 1314-15.

For this reason, Adams and Associates is especially entitled to the “due regard” that this Court

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ordinarily accords GAO decisions in light of “GAO’s longstanding expertise in the bid protest
area.” Integrated Bus. Solutions, Inc. v. United States, 58 Fed. Cl. 420, 427 n.7 (2003).

In support of its proposed solicitation/evaluation distinction, AWS relies heavily
(Response at 12-13) on ATSC Aviation, LLC v. United States, 141 Fed. Cl. 670 (2019). But as this
Court made clear in iAccess, the rule stated in Synergyv—not ATSC—applies where a protestor is
aware of the basis for its challenge prior to the award. 143 Fed. Cl. at 531-32 (concluding that
Synergy and ATSC were both “reasonable interpretations of the holding in COMINT, as applied to
the facts of each of those protests”). As this Court observed, in ATSC “the ‘evaluative error was
not evident before the final award.’” iAccess, 143 Fed. Cl. at 531-32 (quoting ATSC, 141 Fed. Cl.
at 694). In Synergy, by contrast, it was “undisputed” that the agency had failed to engage in
discussions with the protestor (the alleged evaluation error) before awarding the contract to its
competitor. 133 Fed. Cl. at 737. Here, as in Synergy (and not as in ATSC), AWS was aware of
the alleged bias well before the contract was awarded. See, e.g., Compl. § 33 (alleging “it was
impossible to shield DoD from the bias exhibited and undue influence exerted by President Trump
and others”); see also id. §§ 13, 18, 20, 182-84. Under iAccess, Synergy’s reading of COMINT
and Blue & Gold is the “reasonable” one here. 143 Fed. Cl. at 532.

Notably, AWS fails to cite a single post-award protest in which the court declined to apply
Blue & Gold where the protestor knew of the alleged defect prior to the submission of proposals.
On the contrary, in several of the cases AWS cites, the protestor discovered the alleged error after
that deadline had passed. For example, as noted, ATSC declined to find waiver in a post-award
protest, where the protestor claimed that the error was “not evident” prior to the award. 141 Fed.
Cl. at 694. That is a claim that AWS cannot make here, given the allegations of its complaint.

AWS’s attempt now to claim it only learned of the bias post-award is a self-serving contrivance.

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Sunilarly, in Caddell Construction Co. v. United States, 111 Fed. Cl. 49 (2013), a post-
award protest, the Court found no waiver and noted that “the record [did] not establish that plaintiff
had sufficient information to raise its claims prior to the submission of . . . proposals.” Jd. at 76;
see also Sotera Def. Sols., Inc. v. United States, 118 Fed. Cl. 237, 255 (2014) (finding no waiver
but noting that in that case, unlike in CRAssociates and Communication Construction, there was
no “protestor that possessed knowledge of an alleged procurement defect” and yet “waited for the
results of an evaluation process before protesting the alleged defect”). Other cases involved
protestors who knew of the alleged error prior to the award, but who filed their challenges before
the contract was awarded. See iAccess, 143 Fed. Cl. at 532; Draken Int’l, Inc. v. United States,
120 Fed. Cl. 383, 390 (2015). None of AWS’s cases refutes the central holding of Synergy, which
is that Blue & Gold applies to “any defects that could potentially be raised and resolved prior to
the contract award.” 133 Fed. Cl. at 740.

In sum, AWS’s novel position—that the Blue & Gold waiver rule applies only to challenges
to the express terms of a solicitation—has no grounding in the rule’s policy rationales, and it
directly conflicts with various decisions of this Court applying the rule to bias and bad faith claims,
as well as to other challenges ranging beyond the four corners of the solicitation. The Court should
refuse AWS’s invitation to save its untimely bias claims by narrowing Blue & Gold.

B. AWS Knew About The Alleged Bias Well Before It Learned Of The Award To
Microsoft And The Results Of DoD’s Evaluation

AWS also tries (Response at 7-8) to side-step Blue & Gold’s waiver rule by characterizing
Counts V, VI, and VII as challenges to DoD’s evaluation of the parties’ proposals, which AWS
could not have brought until DoD made the contract award. Again, this position is contrary to
AWS’s own complaint, which alleges the President’s claimed bias affected the entire procurement

process, not merely the evaluation process. See supra at 5-6. AWS plainly knew of the alleged

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bias we// before the award to Microsoft; it did not need to know the resz/ts of the evaluation to
protest what it has described as a “fundamental defect” in the “procurement process” created by
the President’s alleged bias. Compl. § 12; see supra at 5-6.

AWS now claims (Response at 9) that it was DoD’s answers to AWS’s debriefing
questions—not President Trump’s public statements—that first led it to suspect that the
procurement was biased. This story directly contradicts AWS’s own complaint, which repeatedly
alleges that the President’s bias was “on full display for the whole country to see” throughout the
procurement process. Compl. § 18; see also id. J§ 13, 20, 33. “[I]t is axiomatic that the complaint
may not be amended by the briefs in opposition to a motion to dismiss.” Kortlander v. United
States, 107 Fed. Cl. 357, 374 (2012) (finding that an issue first raised in response to defendant’s
motion to dismiss “may not cure a defect in the complaint”) (internal quotation and citation
omitted); see also McGrath v. United States, 85 Fed. Cl. 769, 772 (2009) (“This court does not
possess jurisdiction to hear claims presented for the first time in responsive briefing.”) (citation
omitted); Michels v. United States, 72 Fed. Cl. 426, 431-32 (2006) (refusing to consider a claim
presented in plaintiff's brief opposing a motion to dismiss where not included in the complaint).

AWS’s emphasis on the debriefing results—and what it supposedly learned only as a
consequence of how DoD responded to its questions—cannot be reconciled with the facts in the
Administrative Record. AWS suggests that DoD’s refusal to answer certain of its debriefing
questions is proof of DoD bias. See Response at 2, 3, 7, 9. But as AWS well knows, DoD only
refused to answer questions that were based on AWS’s review of sensitive details of Microsoft’s

proprietary JEDI proposal that inadvertently had been provided to AWS at the time of award.

 

2 On October 25, DoD provided AWS with an extensive debriefing report, including
several hundred pages of documents. See Tab 480, AR176608-972. Four days later, AWS
submitted 265 debriefing questions. See Tab 489. The content of the questions made clear that

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Ironically, despite AWS’s complaints that DoD’s insufficient response to debriefing questions
justifies its bias allegations (Response at 2-3), AWS in fact received an extraordinary amount of
information. DoD answered AWS’s debriefing questions except those “based on or emanating
from the inadvertent disclosure of proprietary information belonging to Microsoft, or [that]
otherwise ask about Microsoft’s proposal and evaluation.” Tab 491, AR180078.

On inspection, AWS’s debriefing questions confirm that AWS was fully aware of the
alleged presidential bias well before receiving DoD’s answers. For example, Question 224 asked
“who was involved in any capacity in the evaluation process” and whether they had
“communicated ... with President Trump.” See Tab 488, AR 180049. Questions 225 through
230 asked detailed questions about specific procurement officials and their interactions with
President Trump, including any communications with the President and awareness of the
President’s July 2019 press conference, tweets, and videos. See Tab 488, AR 180050-61.7 DoD’s

response to these questions—while ignored by AWS—expressly stated that “/t/here were no

 

the debriefing report provided to AWS had inadvertently included sensitive source selection
information and proprietary details regarding Microsoft’s JEDI solution, including the evaluation
reports of Microsoft’s interim and final proposals. Tab 480, AR 176646-673, 679-692, 726-738,
759-777, 862-899 (initial evaluation reports); Tab 480, AR 17611-12, 614, 616, 618, 622-23, 795-
816 (final evaluation reports). AWS’s debriefing questions were clearly informed by its review of
Microsoft’s evaluation reports, going so far as, in some instances, to specifically refer to them, and
even quote them. Questions 80, 81, 87, 97, 100-03, 105-06, 108-09 did so as to Factor 5 alone.
Once the inadvertent disclosure of Microsoft information became clear, DoD initiated an
immediate inquiry and instructed AWS to destroy the disclosed materials.

3 In addition, Questions 232 and 259-63 asked about Secretary Esper’s review, including
who “in the administration” he had “heard from” about the JEDI contract, how the review was
conducted, and whether “‘any guidance or evaluation/source selection instructions or directives”
were provided to the evaluators as a result of the review. See Tab 488, AR 180061, 180065.
Question 245 specifically asked whether “DoD receive[d] any reports from evaluators of improper
influence from any official, whether from within the DoD, or from within the White House, Senate,
or House of Representatives.” Tab 488, AR 180064. And Question 233 asked whether President
Trump had directed DoD to “‘screw’ Amazon out of the JEDI contract or otherwise frustrate or
prevent the award of the JEDI contract to Amazon.” Tab 488, AR 180062.

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external influences on the source selection decision.” Tab 491, AR 180079 (emphasis added).
AWS cannot credibly claim that it suspected bias for the first time only when it received responses
to its debriefing questions.

C. If AWS Had Filed A Timely Protest, Its Claims Would Have Been Ripe And
Effective Redress Would Have Been Available

AWS also argues that Blue & Gold cannot bar its bias claims because any pre-award claims
would have been unripe. AWS claims that until the award was made, there was no “final agency
action” that AWS could have challenged. See Response at 17-20. AWS’s argument misconceives
how the ripeness inquiry and bias claims are addressed in bid protests.

The ripeness doctrine focuses on ensuring that courts adjudicate live controversies rather
than “abstract disagreements.” Sys. Application & Techs. v. United States, 691 F.3d 1374, 1383
(Fed. Cir. 2012) (citation omitted). To assess ripeness, a court considers “the fitness of the issues
for judicial decision” and “the hardship to the parties of withholding court consideration.” Jd. at
1383-84. In Systems Application, a challenge to agency corrective action, the Federal Circuit
assessed the first factor by asking “whether the challenged conduct constitutes a final agency
action.” Jd. at 1384. Borrowing from an Administrative Procedure Act (APA) case, the court
explained that the challenged action must not be “of a merely tentative or interlocutory nature”
and must be one “from which ‘legal consequences will flow.’” Jd. (citation omitted).

Unlike the APA, however, the Tucker Act does not superimpose a “final agency action”
requirement onto its broad grant of bid protest jurisdiction to the Court of Federal Claims. See
Itility, LLC v. United States, 124 Fed. Cl. 452, 461 n.12 (2015) (recognizing that the APA’s “final
agency action” requirement “was not incorporated into” the bid protest statute); CBY Design
Builders v. United States, 105 Fed. Cl. 303, 336 (2012) (observing that “Congress has specifically

placed matters within [the Court of Federal Claim’s] bid protest jurisdiction that seem

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incompatible with an APA ‘final agency action’” requirement). Indeed, the APA itself recognizes
that “agency action made reviewable by statute” is reviewable even if it is not “final agency action”
(5 U.S.C. § 704), and here the Tucker Act expressly authorizes jurisdiction over pre-award
“object[ions] to a solicitation.” 28 U.S.C. § 1491(b)(1); see also CBY Design, 105 Fed. Cl. at 336.
Moreover, applying a “final agency action” requirement to preclude pre-award bias claims would
be “contrary to Federal Circuit precedent” under Blue & Gold. CBY Design, 105 Fed. Cl. at 334.

Notably, all of the bid protest cases AWS cites that rely on the APA “final agency action”
requirement involve challenges to anticipated errors in the agency’s implementation of proposed
corrective action. See Brocade Commce’ns Sys., Inc. v. United States, 120 Fed. Cl. 73, 79 (2015);
Square One Armoring Serv., Inc. v. United States, 123 Fed. Cl. 309, 329 (2015); Tenica &
Associates, LLC v. United States, 123 Fed. Cl. 166, 170-72 (2015) (Campbell-Smith, J.). These
cases hold that a challenge to “the implementation or execution” of a corrective action is not ripe
until the action is complete. Sguare One, 123 Fed. Cl. at 329-30. Bias claims are different: once
a protestor concludes that bias has affected the procurement process, it has a sufficient basis to
assert a violation and a pre-award protest may be brought that is ripe for review. See Peraton, 146
Fed. Cl. at 103. In this sense, a bias claim is more analogous to a challenge to the “scope” of a
corrective action—which this Court fas found to be ripe prior to the corrective action’s
completion. Jacobs Tech., Inc. v. United States, 131 Fed. Cl. 430, 448 (2017).

Further, AWS’s argument that bias claims can never ripen before a final award is
inconsistent with precedent, AWS’s own conduct, and common sense. For example, Jacobs
Technology involved a pre-award protest alleging, as AWS does here, that the agency’s “failure to
enforce [certain] common [standards] indicates bias and has unfairly disadvantaged [the

protestor.]” Jacobs Tech., 131 Fed. Cl. at 443. The court held that this bias claim was ripe, in part

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because forcing the protestor to wait until after the award was made would expose it to waiver
under Blue & Gold. Id. at 447; see also Ceres Gulf, Inc. v. United States, 94 Fed. Cl. 303 at 317-
18 (2010) (holding that protestor’s challenge to corrective action was ripe for review because it
would be untimely under Blue & Gold if brought after the new award decision).*

AWS’s proposal to impose a “final agency action” on bias claims also makes little sense
as a policy matter. When a protestor claims that a procurement cannot be conducted in an impartial
manner—whether because of an evaluator’s conflict of interest or bias, or because of an OCI—
that claim is ripe, even if no final “action,” such as a contract award following the completion of
the selection process, has yet been taken. See, e.g., C_A.C.I., Inc.-Fed. v. United States, 719 F.2d
1567, 1571-72 (Fed. Cir. 1983) (considering a pre-award bid protest alleging a conflict of interest
by four individuals involved in the procurement process); 18 U.S.C. § 208 (prohibiting executive
branch employees from “participat[ing] personally and substantially” in matters in which they
have a financial interest). Thus, if the protestor is aware of the bias—even before award—it must
promptly raise its bias or OCI claim. See supra at 7-13; Microsoft Motion at 21-25.°

Even if AWS were right to apply the “final agency action” framework here (which it is
not), there would still be sufficiently final action by DoD to permit the Court’s review.

Specifically, AWS alleges that “[t]he SSA and SSAC’s abilities to rationally evaluate the proposals

 

4 AWS itself has recognized—in this very procurement—that ripeness does not foreclose
pre-award protests alleging bias. Oracle’s pre-award protest of the JEDI procurement, filed in
December 2018, claims (among other things) that AWS improperly influenced the procurement
process, including by negotiating for employment with individual evaluators, which led to
impermissible conflicts of interest. See Oracle Am., Inc. v. United States, 144 Fed. Cl. 88, 112-25
(2019). But neither AWS nor the Government argued that Oracle’s protest was unripe for review.

° AWS’s reliance on purported errors in the evaluation as “evidence[]” of the procurement
officials’ hostility and bias, Compl. § 222, does not change the analysis. Alleged “errors in an
evaluation process do not alone suffice to demonstrate bad faith or permit discovery.” Jacobs
Tech., 131 Fed. Cl. at 455. If AWS believed the President’s public statements injected bias into
the procurement process, it could not wait until it learned of the final outcome.

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and to award the JEDI Contract were tainted by President Trump’s repeated statements against
Amazon at key decision points during the proposal evaluation process.” Compl. § 221; see also
id. §§ 20, 33, 182-84. In other words, the loss of impartiality occurred when President Trump
made the statements to which AWS objects, well before the final award. See Microsoft Motion at
30-31 (detailing timing of relevant statements). DoD’s decision to close the bidding and move
forward with the procurement notwithstanding that taint was neither “tentative,” nor
“interlocutory,” and it “set in motion several uretrievable legal consequences,” including (again,
according to AWS) violations of the procurement regulations and the contract’s ultimate award to
Microsoft. Sys. Application & Tech., Inc., 691 F.3d at 1384.

Beyond its ripeness argument, AWS also complains (Response at 19) that if it had filed its
protest earlier, it would not have been able to obtain effective relief. This is not so. Had it timely
brought its claims prior to award, presumably AWS would have sought to ensure impartial
evaluators would conduct a “fair” evaluation. The remedy for alleged “bias” now is the same—
replacement of “tainted” evaluators with unbiased successors. What is different, because AWS
wrongly delayed its objections until post-award, is that the remedy now would require that the
entire evaluation be redone. This is disruptive to the Government and manifestly unfair to
Microsoft because it occurs after AWS has gained an asymmetric competitive advantage of being
informed of Microsoft’s pricing and other sensitive technical proposal details.

Finally, AWS is wrong to suggest (Response at 20-21) that applying B/ue & Gold in this
case would encourage a “cascade of protective and defensive [pre-award] protests.” AWS itself
describes this case as “extraordinary,” and “unprecedented,” Compl. fj 12, 21, and has repeatedly
alleged that the bias at issue here was “on full display for the whole country to see,” id. § 18. Any

finding that AWS waived these bias claims would have no impact on any other case in which the

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basis for bias is not so known (or public) in advance as here. And if a future claim is, in fact,
brought too early, there will be no prejudice to anyone—such a claim can be dismissed without
prejudice and raised again post-award. See, e.g., Square One, 123 Fed. Cl. at 328.

D. AWS’s Bias Claims Challenge Patent Errors

At the end of its Response, AWS half-heartedly argues (at 21-24) that its bias claims are
not subject to Blue & Gold because President Trump’s alleged bias was not “patent”—or,
equivalently, that AWS had “good cause” to ignore it. See Per Aarsleff A/S v. United States, 829
F.3d 1303, 1312 (Fed. Cir. 2016) (defining a patent error as “‘an obvious omission, inconsistency
or discrepancy of significance’”). But again, these arguments are contradicted by AWS’s

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complaint, which alleges that the President’s bias was “widely known,” “on full display for the
whole country to see” and irretrievably tainted the whole procurement. See, e.g., Compl. §§ 13,
18, 20, 182-84, 221; see also supra at 5-6, 13-16. AWS cannot now be heard to complain that the
errors it challenges were “latent,” or that it had “good cause” to ignore them because they could
not have been “discovered by reasonable and customary care.” Response at 23. For essentially
the same reasons discussed above, AWS cannot repackage its claims as merely a challenge to “the
effect of the President’s bias,” when it was indisputably aware of the alleged presidential bias all

along. Response at 22-23; see generally supra at 13-16.

CONCLUSION

For the foregoing reasons, the Court should grant Microsoft’s motion to dismiss Counts

Il, V, VI, and VII as waived under Blue & Gold®

 

§ AWS argues that the Court need not decide Defendants’ motions to dismiss before it rules
on AWS’s pending motions to supplement and to complete the administrative record. AWS is
wrong. It is not “necessary ‘for effective judicial review,’” Axiom Resource Mgt., Inc. v. United
States, 564 F.3d 1374, 1380 (Fed. Cir. 2009), nor would it serve “the need for expeditious
resolution of the action,” 28 U.S.C. § 1491(b)(3), to permit supplementation for waived claims.

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Of Counsel:

LATHAM & WATKINS LLP

Kathryn H. Ruemmler
Abid R. Qureshi
Roman Martinez
Anne W. Robinson
Dean W. Baxtresser
Genevieve Hoffman
Riley Keenan

555 Eleventh Street, N.W., Suite 1000
Washington, D.C. 20004

(202) 637-2200 (Telephone)

(202) 637-2201 (Facsimile)

Respectfully submitted,

ROGERS JOSEPH O’DONNELL, P.C.

By: /s/Robert S. Metzger

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Robert S. Metzger (Attorney of Record)

Jeffery M. Chiow
Neil H. O’Donnell
Lucas T. Hanback
Stephen L. Bacon
Deborah N. Rodin
Cassidy Kim
Eleanor M. Ross

875 15th Street N.W., Suite 725
Washington, D.C. 20005

(202) 777-8952 (Telephone)
(202) 347-8429 (Facsimile)

Attorneys for Intervenor-Defendant,
Microsoft Corporation
